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AO 442 (Rev. 11/11) Arrest Warrant

UNITED STATES DISTRICT COURT

for the
District of Columbia
United States of America
a } Case: 1:22-mj-00253
Alexander Hamilton ) Assigned To : Harvey, G. Michael
Assign. Date : 11/14/2022
» Description: Complaint W/ Arrest Warrant
Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested} Alexander Hamilton ;
who is accused of an offense or violation based on the following document filed with the court:

O Indictment © Superseding Indictment QO Information 1 Superseding Information Mf Complaint

O Probation Violation Petition 1 Supervised Release Violation Petition OViolation Notice O Order of the Court
This offense is briefly described as follows:

18 USC 402 - willfully disobeying any lawful writ, process, order, rule, decree, or command of a court of
the District of Columbia

22 D.C, Code 722(a)}(6) - to corruptly, or by threats of force, obstruct or impede or endeavor to obstruct or
impede the due administration of justice in any official proceeding

G . M i c h a el Haeye signed by G. Michae!
Date: 2022.11.14 15:55:14
Date: 11/14/2022 Harvey 0500

issuing officer's signature

City and state: Washington, D.C. G. Michael Harvey, U.S. Magistrate Judge

Printed name and title

 

Return

 

 

This warrant was received on (date) | it if | QO DQ. and the person was arrested on (date) LV | “1 loo a2
at (city and state) L404 Sintegon po .

Date: tf cy] a0 IQ

Arresting officer's signature

“Durand Odom, Special Ages]

 

 
